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                                                                                         2022 Dec-13 PM 05:28
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD                    Master File No. 2:13-CV-20000-RDP
    ANTITRUST LITIGATION
         (MDL No. 2406)                          This document relates to Subscriber-Track
                                                 cases.


DECLARATION OF B. PARKER MILLER IN SUPPORT OF WELLS FARGO’S
  UNOPPOSED MOTION TO WITHDRAW REQUEST FOR EXCLUSION
        AND REJOIN THE SUBSCRIBER DAMAGES CLASS


   I, B. Parker Miller, declare under oath, that:

   1.   Wells Fargo & Company and the Wells Fargo & Company Health Plan (for Eligible

Active Employees and Their Dependents) (collectively, “Wells Fargo”) wish to withdraw its

request for exclusion from the Subscriber Settlement Damages Class (“Damages Class”).

Wells Fargo expects that if the Motion to Withdraw is granted, Wells Fargo would maintain

the same rights and obligations as other class members.

   2.   On April 28, 2022, Wells Fargo submitted a request to be excluded from the Damages

Class (Exhibit A, attached here). After the Court issued the Final Order and Judgment Granting

Approval of Subscriber Class Action Settlement and Appointing Settlement Administrator

(“Final Approval Order”), ECF No. 2931; see also ECF No. 2939 (amending Final Approval

Order), Wells Fargo re-considered its position and now desires to rejoin the Damages Class.

   3.   Wells Fargo has not entered into any other settlements, releases, or agreements

resolving Wells Fargo’s claims in the In re: Blue Cross Blue Shield Antitrust Litigation with

any Defendant in this litigation.




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       4.   To the best of my knowledge, Settlement Class Counsel and Defendants to do not

   oppose the Motion to Withdraw.



       I certify under penalty of perjury that the forgoing is true and correct to the best of my

knowledge. Executed this 2nd day of December, 2022 in Atlanta, Georgia.



                                                      /s/ B. Parker Miller
                                                      B. Parker Miller




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